Case 2:15-cv-01673-JCM-GWF Document 17-9 Filed 02/01/16 Page 1 of 3




                     EXHIBIT 9
     American Arbitration Association

                        Contact Us

                          Nevada
2/1/2016              Case 2:15-cv-01673-JCM-GWF Document    17-9 Filed 02/01/16 Page 2 of 3
                                                     Contact Us


                                                                                                                                     SIGN IN | REGISTER




                                                                       About     Careers   News    Events   Contact Us     Search




  Rules & Forms        Areas of          Services           Arbitrators &         Education &
                       Expertise                            Mediators             Resources

  Home > Contact Us



  Contact Us                                                                                          Request for Proposal / Presentation

                                                                                                      Submit an Inquiry / Feedback
  Is your question about an International or US matter?                        Help me choose. >
                                                                                                      Media Relations

   United States >                 | International >
                                                                                                    Complex or Large Case Questions
                                                                                                    Click on a state or a country for senior
                                                                                                    staff ADR experts' contact information.

                                                                                                    General Questions & Inquiries
                                                                                                    ADR.org Registration Log­on Issues
                                                                                                    Click Here.

                                                                                                    Customer Service
                                                                                                    800.778.7879
                                                                                                    9:00 AM EST ­ 8:00 PM EST
                                                                                                    Monday through Friday

                                                                                                    Contact Customer Support for a Particular Area

                                                                                                    ICDR within the United States
                                                                                                    212.484.4181 or 888.855.9575

                                                                                                    ICDR outside the United States
                                                                                                    212.484.4181

  Nevada                                                                                            Labor & Employment Support
                                                                                                    888.774.6904
   AAA Case Management Center
   45 E River Park Place W                                                                          Elections Customer Support
   Suite 308                                                       Phone: 559.490.1900              800.273.0726
   Fresno, CA 93720                                                Fax: 855.433.3046
                                                                                                    New York Auto Insurance ADR Center
   Jeffrey Garcia                                                                                   917.438.1660
   Vice President, Commercial and Construction Case                                                 Website: https://nysinsurance.adr.org
   Management
   Email: garciaj@adr.org                                                                           New York Insurance Case Management Center
                                                                                                    917.438.1500
   Patrick Tatum
   Director, Labor, Employment, Elections                                                           Minnesota Automobile No­Fault Arbitration
   Email: tatump@adr.org                                                                            612.332.6545




   Steven K. Andersen, Esq.
   Vice President, International
   Phone:+1.619.813.2889
   Email: andersens@adr.org




https://www.adr.org/aaa/faces/s/contact/us;jsessionid=SuSfT5Z-D0Nq6rIzoYsXQQsmFw_aHUfAS3JGb9koGJo157n7boZa!-1795268325?_afrWindowId=null&_afr…        1/2
2/1/2016               Case 2:15-cv-01673-JCM-GWF Document    17-9 Filed 02/01/16 Page 3 of 3
                                                      Contact Us
    Cathe Stewart
    Director, Consumer
    Phone:559.490.1840
    Email: stewartc@adr.org




    John English
    Vice President, Labor, Employment, Elections
    Phone:619.239.3051
    Email: englishj@adr.org




    Michael Powell
    Vice President, Construction, Real Estate and
    Environmental
    Phone:213.362.1900
    Fax:213.623.9134
    Email: powellm@adr.org




    Lance Tanaka
    Vice President, Commercial
    Phone:303.831.0824
    Fax:855.267.4082
    Email: tanakal@adr.org




  Education Services     Neutrals eCenter®     Mediation.org    NY Insurance Programs

  ©2016 American Arbitration Association.    Contact Us | Privacy Policy | Terms of Use




https://www.adr.org/aaa/faces/s/contact/us;jsessionid=SuSfT5Z-D0Nq6rIzoYsXQQsmFw_aHUfAS3JGb9koGJo157n7boZa!-1795268325?_afrWindowId=null&_afr…   2/2
